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          IN THE UNITED STATES COURT OF INTERNATIONAL TRADE

BEFORE: THE HONORABLE MARK A. BARNETT, CHIEF JUDGE
__________________________________________
                                           )
EDSAL MANUFACTURING CO., LTD.,             )
                                           )
                  Plaintiff,               )
                                           )
       v.                                  ) Court No. 24-00108
                                           )
UNITED STATES,                             )
                                           )
                  Defendant,               )
                                           )
       and                                 )
                                           )
BANGKOK SHEET METAL PUBLIC CO., LTD. )
and SIAM METAL TECH CO., LTD.,             )
                                           )
                  Defendant-Intervenors.   )
 _________________________________________ )

                   DEFENDANT’S RESPONSE TO PLAINTIFF’S
              MOTION FOR JUDGMENT UPON THE AGENCY RECORD

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           IN THE UNITED STATES COURT OF INTERNATIONAL TRADE

BEFORE: THE HONORABLE MARK A. BARNETT, CHIEF JUDGE
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                                           )
EDSAL MANUFACTURING CO., LTD.,             )
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                  Plaintiff,               )
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       v.                                  ) Court No. 24-00108
                                           )
UNITED STATES,                             )
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                  Defendant,               )
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       and                                 )
                                           )
BANGKOK SHEET METAL PUBLIC CO., LTD. )
and SIAM METAL TECH CO., LTD.,             )
                                           )
                  Defendant-Intervenors.   )
__________________________________________)

                   DEFENDANT’S RESPONSE TO PLAINTIFF’S
                MOTION FOR JUDGMENT ON THE AGENCY RECORD

       Pursuant to United States Court of International Trade Rule 56.2, defendant, the United

States, respectfully submits this response to the motion for judgment on the agency record filed

by plaintiff Edsal Manufacturing Co. (Edsal), ECF No. 24 (Edsal Br.). Edsal challenges the

Department of Commerce’s final affirmative determination issued in the less-than-fair value

duty investigation on boltless steel shelving units prepackaged for sale from Thailand. As

explained below, Edsal’s motion should be denied because the final determination is supported

by substantial evidence and is otherwise in accordance with law.




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                         STATEMENT PURSUANT TO RULE 56.2

I.     Administrative Determination Under Review

       The administrative determination under review is Boltless Steel Shelving Units

Prepackaged for Sale From Thailand, 89 Fed. Reg. 28738 (Dep’t of Commerce Apr. 19, 2024)

(Final Determination) (P.R. 332), as amended by Boltless Steel Shelving Units Prepackaged for

Sale From Malaysia, Taiwan, Thailand, and the Socialist Republic of Vietnam: Amended Final

Affirmative Antidumping Duty Determination for Taiwan and Antidumping Duty Orders, 89 Fed.

Reg. 48555 (Dep’t of Commerce Jun. 7, 2024) (amended final determination) (P.R. 338), and

accompanying Issues and Decision Memorandum (IDM) (P.R. 330). The period of investigation

is April 1, 2022, through March 31, 2023.

II.    Issues Presented For Review

       1.      Whether Commerce’s determination to select PNS’s financial statements over

Sahamitr’s financial statements for the purposes of calculating constructed value (CV) profit is

supported by substantial evidence and in accordance with law.

       2.      Whether Commerce’s determination to use the commercial invoice date as the

date of sale for Siam Metal’s U.S. sales is supported by substantial evidence and in accordance

with law.

       3.      Whether Commerce’s determination to rely on the cost of manufacturing data

reported by Siam Metal and Bangkok Sheet is supported by substantial evidence and in

accordance with law.

                                  STATEMENT OF FACTS

       In May 2023, Commerce initiated a less-than-fair value investigation on boltless steel

shelving from Thailand. Boltless Steel Shelving Units Prepackaged for Sale From India,

Malaysia, Taiwan, Thailand and the Socialist Republic of Vietnam: Initiation of Less-Than-

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Fair-Value Investigations, 88 Fed. Reg. 32188 (Dep’t of Commerce May 19, 2023) (P.R. 33). In

June 2023, Commerce selected Bangkok Sheet Metal Public Co., Ltd (Bangkok Sheet) and Siam

Metal Tech Co., Ltd. (Siam Metal) as mandatory respondents to this investigation. See

Respondent Selection Memorandum (June 7, 2023) (C.R. 18, P.R. 42). Bangkok Sheet and Siam

Metal were selected as mandatory respondents because they were the largest exporters or

producers of boltless steel shelving from Thailand during the period of investigation. Id.

I.     Questionnaire Responses

       In response to a questionnaire issued by Commerce, Siam Metal stated that it relied on

the dates of its commercial invoices as the date of sale relevant for U.S. sales reporting. See

Siam Metal Section A Questionnaire Response (Jul. 10, 2023) (C.R. 21-22, P.R. 89) at 12. Siam

Metal also explained its process for U.S. sales, which began with a negotiation with its U.S.

customers through unaffiliated third-country trading companies. Id. at 12-13. Each unaffiliated

trading company would negotiate a price and quantity with the U.S. customer before notifying

Siam Metal of those terms. Id. Then, for each shipment, Siam Metal would issue invoices to

affiliated third-country trading companies at internal transfer prices. Id. In turn, each affiliated

third-country trading company would issue its own invoices to the unaffiliated third-country

trading companies at the negotiated price at the time of collection of payment, which Siam Metal

reported as the date of sale. Id. The unaffiliated third-country trading companies would collect

payment from the U.S. customer, and provide payment back to Siam Metal through its affiliated

third-country trading companies. Id.

       Additionally, Bangkok Sheet and Siam Metal both reported information related to the

cost of manufacture for the subject merchandise. See Bangkok Sheet Section D Questionnaire

Response (Aug. 7, 2023) (C.R. 50-52, P.R. 108); Siam Metal Section D Questionnaire Response

(Aug. 7, 2023) (C.R. 53-67, P.R. 109). Both producers explained that they did not have cost

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accounting systems, but were able to report manufacturing costs derived from “actual costs as

recorded in the{ir} financial accounting system.” P.R. 108 at 9; P.R. 109 at 10-11. Both

producers also confirmed that their financial accounting systems provide the necessary amount

of detail to determine the cost of manufacturing of the merchandise under consideration. P.R.

108 at 9; P.R. 109 at 10-11. Specifically, Bangkok Sheet explained that its sales of boltless steel

shelving represented a significant portion of its sales revenue. P.R. 108 at 9. Moreover, the raw

material inputs, powder coating, and packing material for producing boltless steel shelving were

all exclusive to the merchandise under consideration, which allowed Bangkok Sheet to report

“actual, unallocated raw material and packing costs.” Id. Similarly, Siam Metal reported that

sales of boltless steel shelving accounted for “the vast majority of {its} total sales and costs.”

P.R. 109 at 11. Siam Metal was able to identify “the main materials, auxiliary materials, and

packing materials used in the production of {boltless steel shelving}” without having to allocate

the costs of those materials across different products. Id. Certain components are sold both as

part of boltless steel shelving and as a separate finished product—for these components, Siam

Metal allocated proportional amounts of material inputs and labor costs to sales of boltless steel

shelving. P.R. 109 at 11-12. For energy and certain categories of variable and fixed overhead,

Siam Metal assigned all costs to production of boltless steel shelving. Id.

       Siam Metal and Bangkok Sheet both also reported inventory movement schedules.

Bangkok Sheet reported an inventory movement schedule which contained estimated production

costs based on finished goods value. Bangkok Sheet Section D Questionnaire Response at 23,

Exhibit D-15 (C.R. 50, P.R. 108). In a follow-up questionnaire response, Bangkok Sheet

explained that its reported cost was less than shown in its finished goods inventory movement

schedule because the inventory movement schedule was based on estimates. Bangkok Sheet



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Section D Supplemental Questionnaire Response (Oct. 31, 2023) at 1-2 (C.R. 115, P.R. 218).

Siam Metal also reported a finished goods inventory movement schedule. Siam Metal Section D

Questionnaire Response at 5, Exhibit D-3 (C.R. 53, P.R. 109).

II.     Preliminary Determination

        In November 2023, Commerce published its preliminary determination. Boltless Steel

Shelving Units Prepackaged for Sale From Thailand: Preliminary Affirmative Determination of

Sales at Less Than Fair Value, Postponement of Final Determination, and Extension of

Provisional Measures, 88 Fed. Reg. 83389 (Dep’t of Commerce Nov. 29, 2023) (Preliminary

Determination) (P.R. 249) and accompanying Issues and Decision Memorandum (PDM) (P.R.

237). Commerce preliminarily determined that boltless steel shelving from Thailand is being, or

likely to be sold in the United States at less-than-fair value. Preliminary Determination at

83,389. Accordingly, it calculated weighted average dumping margins of 2.54 percent for

Bangkok Sheet, 7.58 percent for Siam Metal, and 5.55 percent for all other companies not

individually examined. Id. at 83,390.

        In making its preliminary determination, Commerce found that neither Bangkok Sheet

and Siam Metal had a viable home or third country market during the period of investigation.

PDM at 10. As a result, Commerce could not determine CV profit and selling expenses using

the “preferred method” based on the respondent’s own home-market or third-country sales made

in the ordinary course of trade. Id. Commerce therefore relied on “any other reasonable

method” under 19 U.S.C. § 1677b(e)(2)(B)(iii) to determine Bangkok Sheet’s and Siam Metal’s

CV selling expenses and profit. Id. at 11. Commerce examined seven different fiscal year 2022

financial statements, contemporaneous with the period of investigation, placed on the record by

the parties, to use as potential surrogate values to calculate financial ratios.

        Edsal submitted the financial statements of: Sahamitr Pressure Container PLC

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(Sahamitr), Eonmetall Group Berhad (Eonmetall Group), and PNS Manufacturing Co., Ltd.

(PNS). Edsal’s CV Profit Comments (Aug. 25, 2023) (P.R. 132-134) at Attachments 1

(Sahamitr Financial Statements, P.R. 132), 2 (Eonmetall Group Financial Statements, P.R. 132-

133), and 3 (PNS Financial Statements, P.R. 133-134).

       Respondents submitted the financial statements of: Bangsaphan Barmill Public Company

Limited (BSBM), Millcon Steel Public Company Limited, (Millcon), Tata Steel (Thailand)

Public Company Limited (Tata Steel), and Eonmetall Systems Sdn Bhd (Eonmetall Systems).

Respondents’ CV Profit Comments (Aug. 25, 2023) (P.R. 126-130) at Exhibits 1 (BSBM

Financial Statements, P.R. 126), 2 (Millcon Financial Statements, P.R. 126), 3 (Tata Steel

Financial Statements, P.R. 126-127), and 4 (Eonmetall Systems Financial Statements, P.R. 127).

       Ultimately, Commerce determined that the financial statement of PNS was the most

appropriate surrogate financial statement for calculating CV profit and selling expenses. PDM at

11-12. Commerce reasoned that the PNS financial statement was the only submitted financial

statement of a Thai company that produced identical or comparable merchandise. Id.

Commerce concluded that the other financial statements on the record were not appropriate

sources for CV profit data because those companies were “largely engaged in the production and

sales of non-comparable merchandise.” Id. Specifically, Commerce found that Sahamitr

produced liquefied petroleum gas and other pressure cylinders; BSBM produced steel bars floor

concrete building structures; Millcon produced steel bars, pipes, rebar; and Tata Steel produced

long steel products such as rebar, wire rod, small sections, and bright bar. Id. And, while

Eonmetall Systems did produce identical merchandise, it was not a Thai producer. Id. Thus,

Commerce relied on the financial statement of PNS because it was the only financial data on the

record from a Thai producer of identical or comparable merchandise (i.e., shelving products). Id.



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        Additionally, in accordance with 19 C.F.R. § 351.401(i), Commerce preliminarily

accepted Bangkok Sheet’s and Siam Metal’s reported commercial invoice date as the date of sale

in U.S. and home markets. Id. at 7-8. Commerce noted in its preliminary determination

memorandum that it would “examine Siam Metal’s purchase orders” to verify the invoice date as

the date of sale and make any necessary adjustments for the final determination. Id. at 8.

        Following the preliminary determination, Commerce verified Siam Metal’s sales

reporting and specifically verified the date of sale information reported by Siam Metal. Siam

Metal Sales Verification Report (Mar. 13, 2024) (C.R. 307, P.R. 305). Commerce also verified

Bangkok Sheet’s and Siam Metal’s cost reporting. Siam Metal Cost Verification Report (Mar.

12, 2024) (C.R. 305, P.R. 303); Bangkok Sheet Cost Verification Report (March 13, 2024) (C.R.

308, P.R. 307). At verification, Commerce found that raw materials reported in Siam Metal’s

finished goods inventory movement schedule were reported at purchase price. P.R. 303 at 4.

III.    Final Determination

        In April 2024, Commerce published its final affirmative determination wherein it

continued to find that boltless steel shelving from Thailand was sold at less-than-fair value in the

United States during the period of investigation. See Final Determination. Commerce addressed

issues raised in case briefs filed by Edsal and Bangkok Sheet. IDM at 2-3; see Bangkok Sheet

Case Brief (Mar. 20, 2024) (P.R. 309); Edsal Case Brief re: Bangkok Sheet (Mar. 20, 2024) (P.R.

310); Edsal Case Brief re: Siam Metal (Mar. 20, 2024) (P.R. 311).

        Edsal argued that Commerce “should rely solely on the financial statements of Sahamitr,”

or in the alternative, “rely on the financial statements of both Sahamitr and PNS to calculate CV

profit and selling expenses.” IDM at 4. However, Commerce explained that, for the same

rationale provided in the preliminary determination, it would continue to rely on the PNS

financial statements submitted by Edsal as the best available financial statements for calculating

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constructed value profit and selling expenses. Id. at 5-7. Similarly, Commerce continued to find

Sahamitr’s financial statements “not a viable option for calculating CV profit” because Sahamitr

did not produce identical or comparable merchandise. Id. at 7; see also PDM at 11. Commerce

also noted that Sahamitr’s financial statements were further unsuitable for use because it

received countervailable subsidies. IDM at 6-7; see also Sahamitr Financial Statement at

Attachment 1, Note 22 (P.R. 132). In view of the foregoing, Commerce found it “equally

inappropriate to include Sahamitr’s profit rate in any averaging of a CV profit ratio.” Id. at 7.

       Edsal also argued that “the date of the sales invoice issued by Siam Metal to the affiliated

trading company is the incorrect date of sale”; instead, Edsal asserted the date of sale should be

the “contract date.” Id. at 8. However, in accordance with its standard practice, Commerce

continued to rely on the commercial invoice date as the date of sale for the purposes of valuing

Siam Metal’s U.S. sales. IDM at 9-11. For the final determination, Commerce specifically used

the commercial invoices issued by Siam Metal’s affiliated trading companies to unaffiliated

trading companies to determine the date of sale. Id. at 9-10. This represented a slight change

from the preliminary determination, in which Commerce used the invoice issued from Siam

Metal to its affiliated trading company to determine the date of sale. Id. at 10. Commerce

explained that it made this change so as to reflect the final invoice paid by the U.S. customer for

the subject merchandise. Id.

       Commerce also explained why it did not use the “sales contract” —a document “issued

by the unaffiliated trading company to the affiliated trading company when the unaffiliated

trading company is ready to receive shipments.” IDM at 10-11. Citing information from Siam

Metal’s verification report, Commerce explained that the “sales contract” does not establish the

material terms of sale because it does not identify shipment destination. Id. Therefore, the



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“sales contract” could not “be relied upon to determine whether shipment was bound for the

United States or a third country or whether a sale should be included in the U.S. sales database.”

Id. at 11 (citing Siam Metal Sales Verification Report, P.R. 305 at 7). Moreover, the final price

is not established until the date of the commercial invoice issued to the unaffiliated trading

company, and therefore all material terms of sale are finalized in the commercial invoice which

Commerce used for the date of sale. Id.

       Finally, Edsal argued that Commerce should revise both Bangkok Sheet’s and Siam

Metal’s reported costs to reflect both producers’ finished inventory movement schedules. See

Edsal’s Bangkok Sheet Case Brief at 18-28 (P.R. 310); Edsal’s Siam Metal Case Brief at 31-36

(P.R. 311). Commerce disagreed and continued to rely on the cost of manufacturing reported by

Bangkok Sheet and Siam Metal. IDM at 13-17. Commerce found that the finished goods

inventory schedules reported by both companies are not reasonably reflective of the costs

associated with the production of subject merchandise. Id. at 16. Accordingly, an adjustment to

both companies’ reported cost of production was not warranted. Id. at 17; see also Siam Metal

Cost Verification Report (C.R. 305, P.R. 303); Bangkok Sheet Cost Verification Report (C.R.

308 P.R. 307).

       Therefore, Commerce calculated a final weighted-average dumping margin for Bangkok

Sheet Metal of 2.75 percent, Siam Metal Tech of 0.00 percent, and an all-others rate for

companies not individually examined of 2.75 percent. Final Determination, 89 Fed. Reg. at

28739. In June 2024, Commerce published the antidumping duty order covering boltless steel

shelving from Thailand. Boltless Steel Shelving Units Prepackaged for Sale From Malaysia,

Taiwan, Thailand, and the Socialist Republic of Vietnam: Amended Final Affirmative

Antidumping Duty Determination for Taiwan and Antidumping Duty Orders, 89 Fed. Reg. 48555



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(Dep’t of Commerce Jun. 7, 2024).

                                SUMMARY OF ARGUMENT

       The Court should sustain Commerce’s final determination.

       First, Commerce’s determination to rely on PNS’s financial statements to calculate

constructive value profit is supported by substantial evidence. Specifically, Commerce found

PNS’s financial statements to be the best source available under the criteria of 19 U.S.C. §

1677(e)(1)(B)(iii), and that Sahamitr’s financial statements were not viable because Sahamitr did

not produce comparable products.

       Second, Commerce’s determination to rely on the date of commercial invoice as the date

of sale was in accordance with law. By regulation, 19 C.F.R. § 351.401(i), Commerce will

normally use the date of invoice. Moreover, Commerce’s determination is supported by

substantial evidence because the material terms of sale were not established until the date of

commercial invoice.

       Third, Commerce’s determination to rely on Siam Metal and Bangkok Sheet’s cost of

manufacturing was supported by substantial evidence because the costs of manufacturing were

correctly reported. Moreover, inventory movement schedules were based on price estimates or

purchase price, rather than actual cost, so Commerce reasonably declined to rely on the

schedules.

                                          ARGUMENT

I.     Standard of Review

       This Court sustains any determination, finding, or conclusion by Commerce unless it is

unsupported by substantial evidence, or otherwise not in accordance with law. 19 U.S.C. §

1516a(b)(1)(B)(i); United States v. Eurodif S.A., 555 U.S. 305, 316 n.6 (2009). “Substantial

evidence” means “such relevant evidence as a reasonable mind might accept as adequate to

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support a conclusion.” Consol. Edison Co. v. NLRB, 305 U.S. 197, 229 (1938). Substantial

evidence may be “less than the weight of the evidence,” and the possibility of drawing

inconsistent conclusions does not make Commerce’s findings unsupported by substantial

evidence. Consolo v. Fed. Mar. Comm’n, 383 U.S. 607, 620 (1966). Thus, a party challenging

an agency determination under the substantial evidence standard “has chosen a course with a

high barrier to reversal,” Nippon Steel Corp. v. United States, 458 F.3d 1345, 1352 (Fed. Cir.

2006) (cleaned up), and the Court sustains Commerce’s factual determinations as long as they

are reasonable and supported by the record as a whole, even if some evidence detracts from the

agency’s conclusions. Atl. Sugar, Ltd. v. United States, 744 F.2d 1556, 1562 (Fed. Cir. 1984).

II.    Commerce’s Calculation of Constructed Value Profit Is Supported By Substantial
       Evidence And In Accordance With Law

       Commerce’s determination to calculate Bangkok Sheet’s and Siam Metal’s constructed

value profit and expenses based on the financial statements of PNS is supported by substantial

evidence and in accordance with law.

       A.      Legal Standard

       Pursuant to 19 U.S.C. § 1677b(a)(4), Commerce determined there were no above-cost

sales of boltless steel shelving in the Thai market. PDM at 10; IDM at 5. In calculating

dumping margins, Commerce normally compares the export price or constructed export price

(i.e., the price in the U.S. market) of the merchandise under investigation to the normal value

(i.e., the price in the home market or to a third-country market). 19 U.S.C. §§ 1677(35),

1677b(a)(1)(A)-(C). In other words, Commerce normally would compare the price of boltless

steel shelving in the United States to the price in Thailand or in a third country (i.e., a country

other than Thailand or the United States). However, because normal value could not be

determined on this basis – as there were no above-cost sales of boltless steel shelving in the


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comparison market during the period of investigation – Commerce relied on CV to determine

normal value. 19 U.S.C. § 1677b(a)(4). PDM at 5; IDM at 5.

       Section 1677b(e) instructs Commerce to calculate the “constructed value of imported

merchandise” based on the sum of: (1) the cost of materials and fabrication or other processing

in producing merchandise; and (2) the actual amounts incurred and realized by the specific

exporter or producer being examined in the investigation or review for selling, general, and

administrative costs and for profits, in connection with the production and sale of a foreign like

product, in the ordinary course of trade, for consumption in the foreign country. 19 U.S.C. §

1677(e)(1)-(2)(A). Therefore, the statutorily preferred method is to use the producer’s actual

profits in connection with home market sales of like product in the ordinary course of trade. Id.

       If the preferred method is unavailable, the statute permits Commerce to

calculate selling, general and administrative expenses, and profit under one of the following

alternatives:

                (i) the actual amounts incurred and realized by the specific
                exporter or producer being examined in the investigation or review
                {… } for profits, in connection with the production and sale, for
                consumption in the foreign country, of merchandise that is in the
                same general category of products as the subject merchandise,

                (ii) the weighted average of the actual amounts incurred and
                realized by exporters or producers that are subject to the
                investigation or review (other than the exporter or producer
                described in clause (i)) { . . .}for profits, in connection with the
                production and sale of a foreign like product, in the ordinary
                course of trade, for consumption in the foreign country, or

                (iii) the amounts incurred and realized {…} for profits, based on
                any other reasonable method, except that the amount allowed for
                profit may not exceed the amount normally realized by exporters
                or producers (other than the exporter or producer described in
                clause (i)) in connection with the sale, for consumption in the
                foreign country, of merchandise that is in the same general
                category of products as the subject merchandise; {(i.e., the “profit


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               cap”)}.

19 U.S.C. § 1677b(e)(2)(B). The statute does not establish a hierarchy for selecting among the

alternatives for calculating CV profit and expenses. See Statement of Administrative Action for

Uruguay Round Agreements Act (SAA), H.R. Rep. No. 103-316, vol. I, at 840 (1994), reprinted

in 1994 U.S.C.C.A.N. 4040, 4176 (“At the outset, it should be emphasized that, consistent with

the Antidumping Agreement, new section {1677b}(e)(2)(B)} does not establish a hierarchy or

preference among these alternative methods. Further, no one approach is necessarily appropriate

for use in all cases.”).1 Moreover, “the selection of an alternative will be made on a case-by-case

basis, and will depend, to an extent, on available data.” SAA at 840. Accordingly, the statute

provides Commerce with discretion to select from any of the three alternative methods,

depending on the information available on the record.

       B.      Substantial Evidence Supports Commerce’s Determination That PNS’s
               Financial Statements Is The Best Source Available For Calculating CV Profit

       In the preliminary determination, Commerce applied “any other reasonable method”

under 19 U.S.C. § 1677b(e)(1)(B)(iii). See PDM at 11. Commerce determined that alternatives

(i) and (ii) were unavailable because Bangkok Sheet’s and Siam Metal’s sales of non-

merchandise under consideration were not in the “same general category” as boltless steel

shelving and because there were no other exporters or producers subject to this investigation,

respectively. Id.

       In determining the financial statements to select under Section 1677(e)(1)(B)(iii),

Commerce considered four criteria: (1) the similarity of the potential surrogate companies’



       1
          19 U.S.C. § 3512(d) adopts the SAA as “an authoritative expression by the United
States concerning the interpretation and application of the Uruguay Round Agreements Act . . .
in any judicial proceeding in which a question arises concerning such interpretation or
application.”

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business operations and products to the respondents’; (2) the extent to which the financial data of

the surrogate company reflects sales in the United States as well as the home market; and (3) the

contemporaneity of the surrogate data to the period of investigation; and (4) the similarity of the

customer base between a potential surrogate company and the respondent. See IDM at 6 (citing

Notice of Final Determination of Sales at Less Than Fair Value: Certain Color Television

Receivers from Malaysia, 69 Fed. Reg. 20592 (Dep’t of Commerce April 16, 2004) (CTVs

Malaysia), and accompanying Issues and Decision Memorandum at Comment 26; Notice of

Final Determination of Sales at Less Than Fair Value: Pure Magnesium from Israel, 66 Fed.

Reg. 49349 (Dep’t of Commerce Sept. 21, 2001) (Israel Magnesium), and accompanying Issues

and Decision Memorandum at Comment 8).

       Commerce explained that, consistent with the above factors, the financial statements of

PNS constituted the best source available for calculating the respondents’ CV profit. IDM at 5;

see also PDM at 11-12. In response to comments filed by Edsal, Commerce explained that the

financial statements of PNS were preferable to those of Sahamitr, because PNS is a significant

producer of boltless steel shelving, whereas Sahamitr is a producer of liquefied petroleum gas

cylinders. IDM at 6 (citing PNS Financial Statements at Attachment 3 (P.R. 133); Respondents

Rebuttal CV Profit Submission (Sep. 5, 2023) at CVR-1-CVR-3 (P.R. 148) (providing further

information regarding PNS’s production and business operations)). Specifically, Commerce

found that, because Sahamitr does not produce boltless steel shelving, Sahamitr’s financial

statements were “not a viable option” for calculating CV profit. Id. at 7. Commerce’s finding is

consistent with its practice of selecting CV profit information based on “the similarity of the

potential surrogate companies’ business operations and products to the respondent’s business

operations and products,” and is supported by record information which shows that the



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merchandise produced by Sahamitr is distinct from that of Bangkok Sheet and Siam Metal. Id.;

see also Respondents’ Rebuttal CV Profit Submission (P.R. 148).

       In addition to the findings made in the preliminary determination, Commerce also

determined that Sahamitr received countervailable subsidies from the government of Thailand.

IDM at 7 (citing Sahamitr Financial Statements at Attachment 1, Note 22 (P.R. 132) (identifying

promotional privileges including the exemption from income taxes and exemptions from import

duties)). Commerce “generally does not rely on financial statements where there is evidence that

the company received countervailable subsidies when there are other sufficiently reliable and

representative sources of data on the record for purposes of calculating the CV profit or other

financial ratios.” Id. For that additional reason, Commerce found that Sahamitr’s financial

statements were further unusable for the purposes of calculating CV profit, and that it would be

inappropriate to include Sahamitr’s profit rate in an average of a CV profit ratio. Id. Therefore,

substantial evidence supports Commerce’s determination to rely on PNS’s financial statements

instead of Sahamitr’s.

       C.      Edsal Fails To Demonstrate That Commerce Unlawfully Relied On PNS’s
               Financial Statement

       Edsal challenges Commerce’s determination not to use Sahamitr’s financial statements

and argues that Commerce should not have disregarded Sahamitr’s financial statements because

Sahamitr makes merchandise in the “same general category” as boltless steel shelving. Edsal Br.

at 21 (citing SAA at 841). In doing so, though, Edsal adopts a broad definition of the “same

general category,” and effectively asks this Court to substitute its judgment for Commerce’s.

The SAA provides:

       With respect to {§ 1677b(e)(1)(B)(iii)}, which provides for the use of “any other
       reasonable method,” given the absence of a comparable standard in existing law, the
       Administration does not believe that it is appropriate at this time to establish particular
       methods and benchmarks for applying this alternative. Instead, the Administration

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       intends that Commerce will develop this alternative through practice and that Commerce
       will determine on a case- by-case basis the profits ‘normally realized’ by other companies
       on merchandise of the same general category.

SAA at 841. Therefore, while Commerce must calculate CV profit based on sales of

merchandise “in the same general category,” the SAA also provides that Commerce be given

wide discretion in establishing a practice and determining on a case-by-case basis the most

appropriate means to calculate CV profit. Neither the statute nor the SAA define “same general

category,” other than that the term “encompasses a category of merchandise broader than the

foreign like product.” Id. at 841. Commerce, consistent with that provision, found that the

liquefied petroleum gas cylinders produced by Sahamitr were “non-comparable” merchandise for

the purposes of calculating CV profit. See PDM at 11. Commerce also found that the financial

statements of BSBM, Millcon, and Tata Steel were likewise unusable for the purposes of

calculating CV profit, because each of those companies produce a variety of steel products

including steel bars, pipes, and rebar. Id. Edsal does not argue that any of those producers’

financial statements should have been selected here.

       Yet, Edsal argues that liquefied petroleum cylinders and boltless steel shelving are both

steel products, and therefore both must be in the “same general category” of merchandise. Edsal

Br. at 23. Edsal provides two examples of prior investigations as evidence of precedent

supporting its claim. Edsal Br. at 22 (citing Utility Scale Wind Towers From Malaysia:

Preliminary Results of Antidumping Duty Administrative Review, 2021-2022, 89 Fed. Reg. 461

(Dep’t Commerce Jan. 4, 2024) (Malaysia Wind Towers) and accompanying Issues and Decision

Memorandum (IDM) at 14-15; Boltless Steel Shelving Units Prepackaged for Sale From the

People’s Republic of China: Final Determination of Sales at Less Than Fair

Value, 80 Fed. Reg. 51779 (Dep’t of Commerce Aug. 26, 2015) (BSS from China) and



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accompanying Issues and Decision Memorandum (IDM) at Comment 1). Neither case

undermines Commerce’s determination here.

       In BSS from China, Commerce selected a Bulgarian producer of coated metal products as

a surrogate producer pursuant to 19 U.S.C. § 1677b(c)(4) (under which Commerce will

determine factors of production in non-market economy cases based on data from a surrogate

market economy country or countries) and 19 C.F.R. § 351.408 (under which Commerce will

normally value factors of production using data from a single surrogate country). That

determination has no relevance to this case because Commerce’s selections of surrogate

producers are conducted pursuant to distinct legal authorities and require different considerations

than those at question here. Compare 19 U.S.C. § 1677b(c)(4) with 19 U.S.C. §

1677b(e)(1)(B)(iii). In Malaysia Wind Towers, Commerce found that steel pipes were

comparable to wind towers where the record contained no financial statements for producers of

comparable merchandise. Malaysia Wind Towers IDM at 14-15. Contrary to Edsal’s argument,

Commerce did not establish a rule that all steel products are in the same general category of

merchandise, nor is there any analysis or explanation in the Malaysia Wind Towers PDM which

would support such a conclusion. See Edsal Br. at 23 (“{i}f {Commerce} could find steel pipe

to be sufficiently similar to utility scale wind towers, then Sahamitr’s steel cylinders should be

deemed sufficiently comparable to steel shelving for the purpose of this case.”). Edsal disregards

the fact that selections of surrogate financial statements for CV profit are to be made on a “case-

by-case basis,” and dependent on available data. See SAA at 841.

       Here, Commerce evaluated the two potential sources – the financial statements of PNS

and Sahamitr – pursuant to the criteria developed in its administrative practice. See IDM at 5-7.

Commerce determined that both sources were similar under three of the four criteria, but that



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PNS’s financial statements are preferable based upon “the similarity of the potential surrogate

companies’ business operations and products to the respondent’s business operations and

products.” IDM at 6 (citing Israel Magnesium IDM at Comment 8). Commerce’s fact-specific

determination with respect to that criterion is reasonable and should not be second-guessed. PSC

VSMPO-Avisma Corp., 688 F.3d at 764 (“Commerce is entitled to substantial deference in its

choice of accounting methodology.”). That the merchandise produced by Sahamitr may be

similar under the broad criteria articulated by Edsal is no reason to second-guess Commerce’s

determination. As Commerce explained, PNS produces boltless steel shelving, which is the

merchandise under consideration, and plainly more similar to that merchandise than the liquefied

petroleum gas cylinders produced by Sahamitr. IDM at 6-7. There is no requirement that

Commerce must use any financial statements from producers that meet some arbitrary threshold

of comparability. 19 U.S.C. § 1677b(e)(1)(B)(iii). Therefore, when all other considerations are

equal, Commerce’s determination to rely on the financial statements of a producer of identical

merchandise rather than a producer of merchandise which Commerce finds to be non-

comparable is reasonable.

       Edsal’s remaining criticisms of the PNS financial statements are unconvincing. Edsal

argues that Commerce erred in selecting the PNS financial statements, because PNS produces

merchandise other than the merchandise under consideration. Edsal Br. at 23-24. It is unclear,

though, why this fact would be relevant when Commerce has already found that Sahamitr

produces non-comparable merchandise. And, even if PNS does produce a certain amount of

non-comparable merchandise, the fact that it is a producer of boltless steel shelving was the

factor that guided Commerce’s decision-making. PDM at 12. Likewise, Edsal argues that

Commerce failed to address certain alleged deficiencies in PNS’s financial statements, and that



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those deficiencies prevented a “robust comparison of PNS’s selling expenses with respondents’

expenses.” Edsal Br. at 24-26. But Edsal fails to identify a particular deficiency which

prevented Commerce from calculating CV profit and selling expenses based on PNS’s financial

statements. Edsal Br. at 24-26. And the overall quality of financial statements, absent such a

deficiency, is not one of the criteria Commerce considers when determining which source to use

for CV profit and selling expenses. See IDM at 6 (citing Malaysia CTVs IDM at Comment 4).

Edsal’s arguments amount to disagreement with Commerce’s weighing of the evidence. See

Jiangsu Jiasheng Photovoltaic Tech. Co., Ltd. v. United States, 28 F. Supp. 3d 1317 (Ct. Int’l

Trade 2014) (“{b}ecause Commerce possesses both expertise and relevant first-hand knowledge

– sending follow-up questionnaires and conducting on-sight verification as needed – the court

will not reweigh the evidence before the agency.”).

       Finally, Edsal fails to demonstrate any error in Commerce’s analysis regarding evidence

of countervailable subsidies in Sahamitr’s financial statements. See IDM at 7 (citing Sahamitr

Financial Statements at Attachment 1, Note 22 (P.R. 132)). Edsal argues that Commerce’s

analysis is “fixat{ed} almost entirely on the presence of subsidies in Sahamitr’s financial

statements.” Edsal Br. at 23. But this misstates Commerce’s analysis. Before Commerce

reached the matter of countervailable subsidies in Sahamitr’s financial statements, it first

evaluated the financial statements under the four criteria for choosing among surrogate data.

IDM at 6. Based solely on that evaluation, Commerce determined that Sahamitr’s financial

statements were “not a viable option for calculating CV profit” because Sahamitr produces non-

comparable merchandise. IDM at 7. Commerce then further “note{d} that Sahamitr received

countervailable subsidies.” IDM at 7. Therefore, Commerce’s finding with respect to the

countervailable subsidies is only a secondary consideration supporting Commerce’s



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determination that the PNS financial statements “represent the best available source of

calculating CV profit and selling expenses.” IDM at 6-7.

       Indeed, as Edsal acknowledges, the presence of subsidies in a producer’s financial

statements is a factor that Commerce should consider in its selection of financial statements for

the calculation of CV profit and expenses. See Mid Continent Steel & Wire, Inc. v. United

States, 941 F.3d 530 (Fed. Cir. 2019). In Mid Continent, the Federal Circuit did not prescribe an

outcome on remand and further provided that “{p}ractical considerations might play a role in the

reasonableness of Commerce’s choice . . . {i}t might be reasonable to avoid methods that

demand information that cannot practically be obtained in reliable form.” Mid Continent, 941

F.3d at 544-45. Following the Federal Circuit’s holding, and on remand before this Court,

Commerce explained that its practice “is to not dissect the {financial statement} of a surrogate

company as if the surrogate company were the respondent under investigation/ review in the

proceeding, because {Commerce} does not seek information from or verify the information from

the surrogate company.” Final Results of Redetermination Pursuant to Court Remand, Consol.

Ct. No. 15-00214, ECF No. 150 (Ct. Int’l Trade Apr. 12, 2022) at 7 (sustained in Mid Continent

Steel & Wire, Inc. v. United States, 586 F. Supp. 3d 1349 (Ct. Int’l Trade 2022), aff’d, 2025 WL

40344 (Fed. Cir. Jan. 7, 2025)). But here, Edsal demands exactly that.

       Edsal argues that Commerce failed to analyze “any distortive impacts of the subsidies on

Sahamitr’s profit data.” Edsal Br. 19. But to “show{} that the subsidies had any distortive

impact,” Edsal Br. 18, requires a de facto countervailable subsidy investigation into the

particulars of Sahamitr’s financial statements, and goes beyond “engag{ing} in a comparative

analysis of the deficiencies of multiple financial statements.” Mid Continent, 586 F. Supp. 3d at

1367. That is far more than what is required under the analysis for choosing among surrogate



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data, particularly when Commerce’s determination rests on “the similarity of {PNS’s} business

operations and products to the respondent{s’} compared to Sahamitr, and therefore

independently based on substantial evidence. See 19 U.S.C. § 1677b(e)(1)(B)(iii). Accordingly,

there is no legal support for Edsal’s contention. Commerce reasonably relied on the record

before it to determine that such subsidies were evinced by the statements, and applying its

practice, reasonably determined that it should not rely on such statements. Therefore, the Court

should sustain Commerce’s determination as supported by substantial evidence and in

accordance with law, including Mid Continent.

III.    Commerce’s Determination To Rely On The Commercial Invoice Date As The Date
        Of Sale Is Supported By Substantial Evidence And Otherwise Lawful

        A. Legal Standard

        Commerce’s antidumping comparisons of United States sales with concurrent home

market or third country sales require Commerce to establish dates of sale for the sales being

compared. Neither the statute nor the SAA provide a methodology for determining date of sale;

however, the SAA instructs that the “date of sale” for purposes of currency conversion should be

understood as the “date when the material terms of sale are established.” SAA at 810.

Commerce considers “material terms of sale” to include terms such as price, quantity, delivery,

and payment. See Sahaviriya Steel Indus. Public Co. v. United States, 714 F. Supp. 2d 1263,

1279-80 (Ct. Int’l Trade 2010), aff’d, 649 F.3d 1371 (Fed. Cir. 2011) (citations omitted).

        Consistent with the SSA, to determine on which date a sale occurs, and hence which sales

to compare on a temporal basis, Commerce’s regulations establish a presumption that the date of

sale is the invoice date. See 19 C.F.R. § 351.401(i). Section 351.401(i) provides that Commerce

normally “will use the date of invoice, as recorded in the exporter or producer’s records” to

identify the date of sale. Id. Commerce has elaborated that “price and quantity are often subject


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to continued negotiation between the buyer and the seller until a sale is invoiced,” and that the

date of an enforceable sale “is not necessarily the date on which the terms of sale actually are

established.” Antidumping Duties; Countervailing Duties: Final Rule, 62 Fed. Reg. 27296,

27348-49 (Dep’t of Commerce May 19, 1997) (Preamble). Further, Commerce’s longstanding

practice is to use a uniform date of sale for each respondent rather than a different date of sale for

each sale. See id. at 27349.

       This Court has sustained Commerce’s date of sale regulation and practice. See, e.g.,

Sahaviriya Steel, 714 F. Supp. 2d at 1279-82; Nakornthai Strip Mill Pub. Co. Ltd. v. United

States, 614 F. Supp. 2d 1323, 1333-34 (Ct. Int’l Trade 2009); see also Mittal Steel Point Lisas

Ltd. v. United States, 548 F.3d 1375 1379-80 (Fed. Cir. 2008) (recognizing Commerce’s date of

sale practice). Specifically, this Court has held that “unless the party seeking to establish a date

of sale other than the invoice date produces sufficient evidence to overcome this presumption,

Commerce will use invoice date as the date of sale.” Sahaviriya Steel, 714 F. Supp. 2d at 1279-

80. In other words, the plaintiff bears the burden of producing sufficient evidence demonstrating

that another date “better reflects the date on which the exporter or producer establishes the

material terms of sale.” Viraj Group, Ltd. v. United States, 343 F.3d 1371, 1377, n.1 (Fed. Cir.

2003) (citing 19 C.F.R. § 351.401(i) (2003)). Moreover, even after a plaintiff produces evidence

to overcome the presumption, if “the record indicates that Commerce’s decision to use the

invoice date as the date of sale was reasonable and was supported by substantial evidence,

Plaintiff’s arguments must fail.” Allied Tube, 127 F. Supp. 2d at 220.

       Notwithstanding the regulatory presumption to use invoice date as the date of sale,

Commerce’s date of sale methodology is “flexible,” Allied Tube & Conduit Corp. v. United

States, 127 F. Supp. 2d 207, 219 (Ct. Int’l Trade 2000). If Commerce “is presented with



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satisfactory evidence that the material terms of sale are finally established on a date other than

date of invoice, {it} will use the alternative date as the date of sale.” Preamble, 62 Fed. Reg. at

27349. In these situations, however, “the terms of sale must be firmly established and not

merely proposed.” Id. Therefore, “{a} preliminary agreement on terms, even if reduced to

writing, in an industry where renegotiation is common does not provide any reliable indication

that the terms are truly ‘established’ in the minds of the buyer and seller.” Id.

       B.      Edsal Fails To Demonstrate Error In Commerce’s Determination To Rely
               On The Commercial Invoice Date

       In this case, Commerce analyzed and verified Siam Metal’s sales data and determined

that the commercial invoice date was appropriate as the date of sale for Siam Metal’s sales to the

U.S. market. IDM at 9-12. Edsal argues that Commerce erred by not using the sales contract

established between Siam Metal’s affiliated third-country trading company and an unaffiliated

third-country trading company to establish the date of sale. See Edsal Br. at 29-37. However,

these arguments fail to demonstrate error in Commerce’s determination to rely on the

commercial invoice date.

       As an initial matter, Edsal attempts to shift the burden to Commerce to support its finding

that the sales contract establishes the material terms of sale. See Edsal Br. at 36. But Commerce

is not required to justify using the invoice date, in the absence of evidence identified by Edsal

that the material terms of sale were established on an alternative date. Sahaviriya Steel, 714 F.

Supp. 2d at 1279-80. In that respect, Edsal failed to make this showing in the investigation, and

does not identify any record evidence that undermines Commerce’s decision.

       On the merits, Edsal goes to great lengths to establish that price and quantity were

established by the sales contract issued between Siam Metal’s unaffiliated trading company and

an affiliated third-country trading company. Edsal Br. at 32-36. But Edsal fails to address


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Commerce’s finding that the destination country was a material term of sale. See IDM at 11.

Edsal does not dispute that, as a factual matter, destination country was not included in the sales

contract which it argues Commerce should have used as date of sale. Edsal Br. at 36-37. Edsal

instead proffers that destination cannot be a material term of sale because Commerce “explicitly

rejected” such a notion in a 2004 investigation. Id. at 37 (citing Notice of Final Determination of

Sales at Less Than Fair Value and Negative Final Determination of Critical Circumstances:

Certain Frozen and Canned Warmwater Shrimp From Thailand, 69 Fed. Reg. 76918 (Dep’t

Commerce Dec. 23, 2004) (Shrimp Thailand), and accompanying Issues and Decision

Memorandum (IDM) at 36). Edsal takes Commerce’s finding in Shrimp Thailand out of context.

There, Commerce found that “changes to delivery location” did not constitute changes to terms

of sale. Shrimp Thailand IDM at 36. Commerce explained that it “considers delivery terms to

be nonessential terms of sale which do not alter the date of sale,” and that the key changes in

delivery terms referenced pertained to “extra freight expenses incurred to ship the merchandise

to a different location.” Id. (excluding citation). Shrimp Thailand says nothing about whether

the destination country should be considered a material term of sale when the eventual

destination of a sale is completely unknown by the seller until invoice date.

       In any case, this Court’s subsequent decisions make clear that “material terms of sale”

include delivery terms such as destination for the purposes of antidumping determinations. See

Eregli Demir v. Celik Fabrikalari T.A.S, 308 F. Supp. 3d 1297, 1306-07 (Ct. Int’l Trade 2018)

(“Material terms of sale may include price, quantity, and delivery and payment terms”) (citing

Sahaviriya Steel, 714 F. Supp. 2d at 1280). Moreover, Edsal’s argument that destination cannot

be a material term of sale would unjustifiably constrain Commerce’s discretion. This Court has

recognized that the date of sale, pursuant to the SAA, to be “flexible so as to accurately reflect



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the true date on which the material elements of sale were established.” Allied Tube, 127 F. Supp.

2d at 1370. Commerce exercised its discretion here to find that the country of destination of a

sale is a material term of sale. See IDM at 11. This is a reasonable application of Commerce’s

discretion, because the purpose of Commerce’s date of sale reporting is, in part, to determine

which and in what manner a company’s U.S. sales should be reported. See, e.g., Siam Metal’s

Section A Questionnaire Response at 12 (P.R. 89) (date of sale reported by the respondent “will

determine which sales records are reported in response to sections B and C of {Commerce’s}

questionnaire.”). It would make little sense for Commerce to determine that material terms of

sale have been established at a time when a producer does not know whether its sale would be

destined for the U.S., or any other country.

       Therefore, Commerce’s application of 19 C.F.R. § 351.401(i) in this instance to find that

destination country is a material term of sale comports with this Court’s holdings and is therefore

reasonable. Because Edsal does not demonstrate that the material terms of sale were established

before the date of commercial invoice, Commerce’s determination to use the commercial invoice

date should be presumed correct. See Viraj Group, 343 F.3d at 1377, n.1.

IV.    Commerce’s Determination to Rely on Their Cost of Manufacturing is Supported
       by Substantial Evidence and in Accordance with Law

       Siam Metal and Bangkok Steel each reported its total costs of manufacturing in

accordance with 19 U.S.C. § 1677b(f)(1)(A). The statute imposes two conditions for the use of

reported costs in cost calculations: (1) costs are calculated based on records kept in accordance

with Generally Accepted Accounting Principles (GAAP); and (2) costs reasonably reflect the

costs of producing and selling merchandise. 19 U.S.C. § 1677b(f)(1)(A); see also Dillinger

France S.A. v. United States, 981 F.3d 1318, 1321 (Fed. Cir. 2020). Commerce found that Siam

Metal’s and Bangkok Steel’s cost reporting satisfied both conditions. Moreover, although


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neither respondent maintained a cost accounting system, both allocated costs for materials and

overhead as recorded directly in their financial accounting system, and allocated those costs over

their finished goods production quantities. IDM at 17. Commerce found that both respondents’

reporting reconciled to their GAAP-compliant financial statements, and were verified to be

reflective of the respondents’ actual cost of production. See IDM at 17; Siam Metal Cost

Verification Report, P.R. 303; Bangkok Sheet Cost Verification Report, P.R. 307. Commerce

need go no further in its analysis – indeed, when those two conditions are met, Commerce shall

normally calculate cost based on a producer’s records. See 19 U.S.C. § 1677b(f)(1)(A);

Dillinger, 981 F.3d at 1321. Here, Commerce did calculate costs based on GAAP-complaint

accounting records.

       Edsal does not argue that either respondent’s reporting is not based on GAAP-compliant

financial statements. Rather, Edsal argues that each producer’s reporting is not “reasonably

reflective of the costs associated with the production and sale of merchandise.” Edsal Br. at 37-

38 (citing 19 U.S.C. § 1677b(f)(1)(A)). Although both parties reported costs contained in their

inventory movement schedules, Commerce declined to use those costs because those costs were:

(1) in the case of Siam Metal, based on purchase price and not actual cost; and (2) in the case of

Bangkok Sheet, based on estimates. See IDM at 15-17 (citing Bangkok Sheet Section D

Supplemental Questionnaire Response at 1-2 (P.R. 218); Siam Metal Cost Verification Report at

11 (C.R. 305, P.R. 303)). For Siam Metal, Edsal argues that Commerce failed to establish that

Siam Metal’s “finished goods inventory values were recorded at purchase price.”2 Edsal Br. at

40-41. Commerce addressed this argument in its IDM. The cost verification report for Siam



       2
          Edsal does not adequately articulate the salience of this technical point. We presume
that Edsal alleges that Siam Metal’s finished goods inventory values are the “actual costs
reported in its books and records.”

                                                26
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Metal states:

       In its inventory system, {Siam Metal} records the production cost of raw materials based
       on the purchase price while reported {total cost of manufacturing} is based on the actual
       consumption cost as shown in the accounting system {. . .}. We examined the stock card
       report for the {period of investigation} that shows the finished goods inventory values
       were recorded at the purchase price.

Siam Metal Cost Verification Report at 11 (C.R. 305, P.R. 303); see also IDM at 16 (citing the

same). The conclusions drawn by verification report are considered record evidence, and

Commerce need not add every single substantiating document examined at verification to the

record. See Micron Technology, Inc. v. United States, 117 F.3d 1386, 1397 n.2 (Fed. Cir. 1997)

(“Commerce is not required to make all of respondent's financial documents part of the record,

but is only required to “disclos{e} its methods” of verification”). Edsal claims that Commerce’s

verification report “falls short of the substantial evidence needed to support” the final

determination, but provides no support for this claim and fails to identify evidence contradicting

Commerce’s finding or any error in Commerce’s reasoning. See Edsal Br. at 40-42.

       Edsal similarly argues that “{n}othing in the record, nor the observation that SMT

officials ‘were able to identify the type of direct materials’ used in the production of nonsubject

merchandise, justified {Commerce’s} acceptance of {Siam Metal}’s unreconciled and

unexplained cost reporting.” Edsal Br. at 41. But again, Edsal disregards the conclusions drawn

in the verification report, and even questions the veracity of those conclusions. Edsal Br. at 41

n.2. Commerce’s verification report states clearly that “{t}he purpose of {the} verification

report is to provide parties with a factual report of the procedures performed and results obtained

during the {Commerce}’s verification exercise.” Siam Metal Cost Verification Report, P.R. 303

at 1 (emphasis added). That the report does not draw conclusions as to overall success of

verification or to the “ultimate treatment of the facts obtained at verification,” see id., does not



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mean that Edsal is at liberty to question the methods employed by Commerce or the factual

conclusions drawn by Commerce in its report – particularly where Commerce ultimately chose

to adopt such findings in its decision. IDM at 17. Edsal does not further identify how the cost of

manufacturing reported by Siam Metal is not reasonably reflective of it’s the actual costs of

producing merchandise. See 19 U.S.C. § 1677b(f)(1)(A). Therefore, Commerce’s determination

to use the cost of manufacturing reported by Siam Metal and derived on its GAAP-compliant

financial statements is reasonable and should be sustained. See Ellwood City Forge Co. v.

United States, 600 F. Supp. 3d 1281, 1300 (Ct. Int’l Trade 2022) (finding that “a reasonable

mind could find that sufficient evidence exists to support Commerce’s verification results on the

basis of its explanation.”).

        In a similar vein, Edsal argues that Commerce erred by “deferring” to the cost of

manufacturing reported by Bangkok Sheet, rather than adjusting Bangkok Sheet’s reporting “to

align with actual costs recorded in {its} normal books and records and audited financial

statements.”3 Edsal Br. at 42. But Edsal’s argument suffers from the same deficiency as its

argument with respect to Siam Metal. Edsal alleges that Commerce “deferred” to Bangkok

Sheet’s explanations, as if the verification report is not a finding of fact compiled by Commerce

officials. Edsal Br. at 42-44. Indeed, Bangkok Sheet explained in a questionnaire response that

its finished goods inventory consists of estimates based on “standard raw material consumption

and standard (estimated) production time.” Bangkok Sheet Section D Supplemental

Questionnaire Response, P.R. 218 at 1-2; see also IDM at 15. Commerce verified this same

assertion, and Commerce concluded that Bangkok Sheet’s finished goods inventory is an

estimate. Bangkok Sheet Cost Verification Report at 3 (P.R. 307). Again, Edsal provides no


        3
          We again presume in the context of its broader argument that Edsal views Bangkok
Sheet’s finished goods inventory to be the “actual costs reported in its books and records.”

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basis for this Court to second-guess the conclusions drawn by Commerce in this respect.

Because Commerce concluded that Bangkok Sheet’s finished goods inventory is an estimate, and

not reflective of the “actual costs reported in its books and records,” Commerce’s determination

to disregard the finished goods inventory is supported by substantial evidence and in accordance

with law.

                                         CONCLUSION

       For these reasons, we respectfully request that the Court deny Edsal’s motion for

judgment upon the administrative record, sustain Commerce’s final determination, and enter

judgment for the United States.



                                                    Respectfully submitted,

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                                                     Director

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 February 28, 2025                                   Attorneys for the Defendant




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                             CERTIFICATE OF COMPLIANCE

       I hereby certify that the foregoing brief complies with the Rules of this Court and the

Court’s scheduling order in that it contains no more than 8,682 words, excluding the table of

contents, table of authorities, any addendum containing statutes, rules or regulations, any

certificates of counsel, and counsel’s signature, as calculated by the word processing system used

to prepare this brief (Microsoft Word).

                                           /s/ An Hoang
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            IN THE UNITED STATES COURT OF INTERNATIONAL TRADE

BEFORE: THE HONORABLE MARK A. BARNETT, CHIEF JUDGE
__________________________________________
                                           )
EDSAL MANUFACTURING CO., LTD.,             )
                                           )
                  Plaintiff,               )
                                           )
       v.                                  ) Court No. 24-00108
                                           )
UNITED STATES,                             )
                                           )
                  Defendant,               )
                                           )
       and                                 )
                                           )
BANGKOK SHEET METAL PUBLIC CO., LTD. )
and SIAM METAL TECH CO., LTD.,             )
                                           )
                  Defendant-Intervenors.   )
 _________________________________________ )

                                              ORDER

        Upon consideration of plaintiff’s motion for judgment upon the agency record, responses

thereto, plaintiff’s reply, the administrative record, and other pertinent papers, it is hereby:

        ORDERED that plaintiff’s motion is DENIED;

        ORDERED that the Department of Commerce’s determination is sustained;

and it is further

        ORDERED that judgment is entered in favor of the United States.



 Dated: ___________________                            __________________________
        New York, NY                                   CHIEF JUDGE




                                                   1
